          Case 2:18-cv-01571-NBF Document 41 Filed 10/30/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KEVIN REYNOLDS,                                       )
                                                      )
       Plaintiff,                                     )
                                                      )       Case No. 18-1571
v.                                                    )       Judge Nora Barry Fischer
                                                      )
SLIPPERY ROCK UNIVERSITY OF PA;                       )
WILLIAM J. BEHRE, Ph.D., SRU President                )
PHILIP K. WAY, Ph.D., SRU Provost;                    )
HOLLY MCCOY, SRU Asst. Vice President;                )
PAUL LUEKEN, SRU Athletic Director,                   )
                                                      )
       Defendants.                                    )
                                                      )


                                             ORDER

       AND NOW, this 30th day of October, 2019, upon consideration of the Motion to Compel

filed by Plaintiff Kevin Reynolds (“Plaintiff”) (Docket No. [33]) and the Response in Opposition

filed by Defendants Slippery Rock University of PA, William J. Behre, Ph.D., Philip K. Way,

Ph.D., Holly McCoy, and Paul Lueken (“Defendants”) (Docket No. 40),

       IT IS ORDERED THAT said Motion is DENIED.

       To this end, on February 12, 2019, following a Case Management Conference at which the

parties’ were able to speak to their discovery needs, this Court issued a Case Management Order

limiting “[t]he total number of written interrogatories, requests for production and requests for

admission, including subparts . . . to . . . 25.” (Docket No. 16). Despite filling its present motion

to compel, Plaintiff has never sought leave or attempted to establish that good cause exists for

Plaintiff to exceed twenty-five requests for admission. Moreover, based on the parties’ briefing

and the record presently before the Court, the documents Plaintiff seeks are not relevant to the case
         Case 2:18-cv-01571-NBF Document 41 Filed 10/30/19 Page 2 of 2



sub judice.



                                    /s/ Nora Barry Fischer
                                    Nora Barry Fischer
                                    Senior United States District Judge




                                       2
